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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    –Southern Division–


  CONSTANCE COLLINS, et al.,
                                                              Case No. 1:20-cv-01225
                         Plaintiffs,

  –v–

  TRI-STATE ZOOLOGICAL PARK                     OF
  WESTERN MARYLAND, INC., et al.,

                         Defendants.



              DEFENDANTS’ CROSS MOTION FOR SUMMARY JUDGMENT

         In accordance with Rule 56 of the Federal Rules of Civil Procedure and this Court’s

 Amended Scheduling Order, ECF No 43, Defendants Tri-State Zoological Park of Western

 Maryland, Inc., Animal Park, Care & Rescue, Inc., and Robert Candy (collectively “Defendants”)

 move for summary judgment against Plaintiffs Constance Collins and People for the Ethical

 Treatment of Animals, Inc. (“PETA”), (together, “Plaintiffs”).

        PLEASE TAKE NOTICE that, upon the affidavits of Keith Gold, DVM and Robert Candy,

sworn to January 26, 2022, and Carole Baskin sworn to October 23, 2018, Defendant’s Rule 56

Statement of Material Facts as to Which There is No Genuine Issue to be Tried, dated January 27,

2022, and all the exhibits thereto, Defendants Tri-State Zoological Park of Western Maryland, Inc., Animal

Park, Care & Rescue, Inc., and Robert Candy (collectively “Defendants”) will move this Court, before the

Honorable Paula Xinis, at the United States Courthouse, 6500 Cherrywood Lane, Greenbelt,

Maryland, for an Order pursuant to Federal Rule of Civil Procedure 56 granting defendants’ summary

judgment.

        PLEASE TAKE FURTHER NOTICE that, pursuant to an Order of the Court, opposing
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papers, if any, must be filed and served by February 10, 2022.

         PLEASE TAKE FURTHER NOTICE that plaintiff intends to file and serve reply papers.



  Date      January 27, 2022                 Respectfully submitted,
                                             JOHN PIERCE LAW

                                             /s/ John M. Pierce
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